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 9                               UNITED STATES DISTRICT COURT
10                              EASTERN DISTRICT OF CALIFORNIA
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12   GERALD CARLIN, JOHN RAHM, PAUL                      CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
13                                                       ORDER ON NON‐PARTIES AND AMICI
     individually and on behalf of themselves and
                                                         CURIAE CALIFORNIA FARMERS
14   all others similarly situated,                      UNION AND CALIFORNIA DAIRY
                                                         CAMPAIGN’S MOTION FOR LEAVE
15                                 Plaintiffs,           TO FILE BRIEF IN SUPPORT OF
                                                         PLAINTIFFS’ MOTION FOR LEAVE
16          v.                                           TO FILE FOURTH AMENDED
                                                         CONSOLIDATED CLASS ACTION
17                                                       COMPLAINT
     DAIRYAMERICA, INC., and
18   CALIFORNIA DAIRIES, INC.,                           (Doc. No. 394)
19                                 Defendants.

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21          Non-parties California Farmers Union and California Dairy Campaign seek leave to file an

22   amicus curia brief in support of Plaintiffs’ pending motion for leave to file a fourth amended

23   complaint. For the reasons that follow, this motion will be denied.

24

25                                           BACKGROUND

26          On February 9, 2017, Plaintiffs filed their motion for leave to file a fourth amended

27   complaint (“Motion to Amend”). Doc. No. 377. Pursuant to the parties’ stipulation and the

28   Court’s March 1, 2017 order on the briefing schedule for the Motion to Amend (Doc. No. 383),
            Case 1:09-cv-00430-AWI-EPG Document 405 Filed 04/24/17 Page 2 of 3


 1   Defendants filed their opposition briefs on March 17, 2017, and Plaintiffs filed their reply on April
 2   14, 2017. On the same day that Plaintiffs filed their reply, California Farmers Union and
 3   California Dairy Campaign filed a motion for leave to file an amicus curia brief in support of
 4   Plaintiffs’ Motion to Amend (“Motion for Leave”).
 5

 6                                                LEGAL DISCUSSION
 7            It has been recognized that district courts have the inherent authority to permit and
 8   consider amicus curiae briefs, even though such briefs are not specifically provided for in the
 9   Federal Rules of Civil Procedure. See In re Bayshore Ford Trucks Sales, Inc., 471 F.3d 1233,
10   1249 n.34 (11th Cir. 2006). Nevertheless, the California Farmers Union and California Dairy
11   Campaign’s request is not well received.
12            California Farmers Union and California Dairy Campaign filed their Motion for Leave on
13   April 14, 2017, the same day that the parties concluded their briefing on the Motion to Amend
14   pursuant to the Court’s order. Under these circumstances, the Court does not find a proposed
15   amicus brief in support of Plaintiffs’ February 9, 2017 Motion to Amend to be timely.1 See Rocky
16   Mountain Farmers Union v. Goldstene, 2010 WL 1949146, at *2 (E.D. Cal. May 11, 2010) (“This
17   Court retains broad discretion to either permit or reject the appearance of amicus curiae. A court
18   may grant leave to appear as an amicus if the information offered is timely and useful.”) (internal
19   citations and quotations omitted).
20            Further, while the Court appreciates California Farmers Union and California Dairy
21   Campaign’s interest in the case, the Court is not persuaded that these entities have demonstrated
22   that they have “unique information or perspective” that would assist the Court beyond that which
23   Plaintiffs are able to provide. See Missouri v. Harris, 2014 WL 2987284, at *2 (E.D. Cal. July 1,
24   2014). Here, California Farmers Union and California Dairy Campaign seek to provide the Court
25   1
      Although the Federal Rules of Civil Procedure do not address the filing of amicus briefs, the Federal Rule of
26   Appellate Procedure 29 permits the filing of amicus briefs. Using FRAP 29 as a guide, the proposed amicus brief is
     not timely. Under FRAP 29(e), a motion to file an amicus brief (along with the brief itself), must be filed within 7
27   days of the principal party’s brief that is being supported. Here, California Farmers Union and California Dairy
     Campaign seek to file a brief that would be in support of a Motion to Amend that was filed by Plaintiffs on February
28   9, 2017. The April 14, 2017 motion to file an amicus brief (which did not include the brief itself) is well beyond the 7
     day limit. Cf. Fed. R. App. P. 29(e).

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 1   with “the perspective of the prospective class of California farmers.” Motion for Leave at 2.
 2   However, Plaintiffs have already filed their Motion to Amend seeking to represent the prospective
 3   class of California farmers as their class counsel. Notably, California Farmers Union and
 4   California Dairy Campaign do not assert that the prospective class of California farmers is not
 5   represented competently by Plaintiffs. Cf. Rocky Mountain Farmers Union, 2010 WL 1949146, at
 6   *2 (“An amicus brief should normally be allowed when a party is not represented competently or
 7   is not represented at all.”)
 8           Based on the analysis above, the Court will deny the Motion for Leave.
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10                                                ORDER
11           Accordingly, IT IS HEREBY ORDERED that California Farmers Union and California
12   Dairy Campaign’s motion for leave to file an amicus curiae brief (Doc. No. 394) is DENIED.
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     IT IS SO ORDERED.
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15   Dated: April 21, 2017
                                                 SENIOR DISTRICT JUDGE
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